                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:17-CV-022-KDB-DCK

 CURTIS NEAL, on behalf of himself and others )
 similarly situated,                          )
                                              )
                Plaintiff,                    )
                                              )
     v.                                       )             ORDER
                                              )
 WAL-MART STORES, INC., d/b/a                 )
 WALMART, and SYNCHRONY BANK,                 )
 f/k/a SYNCHRONY RETAIL BANK,                 )
                                              )
                Defendants.                   )
 _________________________________________ )
                                              )
 ROY CAMPBELL, on behalf of himself and all )
 others similarly situated,                   )
                                              )
                 Plaintiff,                   )
                                              )
    v.                                        )
                                              )
 SYNCHRONY BANK,                              )
                                              )
                 Defendant.                   )
                                              )

       THIS MATTER IS BEFORE THE COURT on “Plaintiff’s Motion To Compel

Defendant To Answer And Respond To Written Discovery Requests, And To Compel Defendant

To Produce Documents” (Document No. 70); “Plaintiff’s Motion For A Hearing…” (Document

No. 84); and “Synchrony Bank’s Motion For Sanctions” (Document No. 90). These motions have

been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motions and the record, the undersigned

will deny the motions as moot.




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       The undersigned observes that the parties filed a “Notice Of Class Action Settlement”

(Document No. 113) on August 18, 2020. In their Notice, the parties requested that this Court

“deny all pending motions as moot.” (Document No. 113, p. 1). In addition, the undersigned notes

that the Honorable Kenneth D. Bell has granted preliminary approval of the parties’ settlement and

scheduled a hearing regarding final approval for March 15, 2021. See (Document No. 116)

       IT IS, THEREFORE, ORDERED that “Plaintiff’s Motion To Compel Defendant To

Answer And Respond To Written Discovery Requests, And To Compel Defendant To Produce

Documents” (Document No. 70); “Plaintiff’s Motion For A Hearing…” (Document No. 84); and

“Synchrony Bank’s Motion For Sanctions” (Document No. 90) are DENIED AS MOOT. These

motions are denied without prejudice to being re-filed if the proposed settlement is not approved

by the Court.

       SO ORDERED.


                                    Signed: October 20, 2020




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